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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF TEXAS
                              DALLAS DIVISION

FEDEX SUPPLY CHAIN LOGISTICS &      §
ELECTRONICS, INC.,                  §
    Plaintiff,                      §
v.                                  §
                                    §
JAMES E. GOODMAN, JR., JOHN         §
GOODMAN, JONATHAN GOODMAN,          §
JAKE GOODMAN, JOSEPH “JODY”         §
GOODMAN, JAMES FRINZI, SHALOM §
AUERBACH, NEIL AUERBACH, STEVEN §
ZAKHARYAYEV, EVALINA                §
PINKHASOVA, GENESIS NETWORKS        §
TELECOM SERVICES, LLC, GNET ATC, §
LLC, GREATER TECH HOLDINGS, INC. §              Civil Action No. 3:23-cv-02397-S
f/k/a ) GOODMAN TELECOM HOLDINGS,§
LLC, ) GOODMAN INVESTMENT           §
HOLDINGS, LLC, UNIFIED FIELD        §
SERVICES, INC., AMERICAN METALS §
RECOVERY AND RECYCLING, INC. a/k/a §
MBG HOLDINGS, INC., MULTIBAND       §
FIELD SERVICES, INC., HSB HOLDINGS, §
LLC f/k/a MULTIBAND GLOBAL          §
RESOURCES, LLC, AMR RESOURCES, §
LLC, HUDSON CLEAN ENERGY            §
ENTERPRISES, LLC, 18920 NW 11th ,   §
LLC, PROSPERITY BANCSHARES, INC., §
THE FRINZI FAMILY TRUST,            §
ALLIANCE TEXAS HOLDINGS, LLC,       §
AUERBACH PARTNERS, LP, and          §
ONEPATH SYSTEMS, LLC,               §
        Defendants.                 §

            UNOPPOSED MOTION TO EXTEND RESPONSE DEADLINE
          FOR GNET ATC, LLC AND MULTIBAND FIELD SERVICES, INC.

TO THE HONORABLE KAREN GREN SCHOLER, UNITED STATES DISTRICT JUDGE:

       GNET ATC, LLC and MULTIBAND FIELD SERVICES, INC. (together, the “Subject

Defendants”) file this Unopposed Motion to Extend Response Deadline and would respectfully

show as follows:



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       FedEx Supply Chain Logistics & Electronics, Inc. (the “Plaintiff”) commenced this

action against the Subject Defendants and numerous other defendants by filing its Complaint in

this Court on October 27, 2023 [Dkt. No. 1].

       A related proceeding between Scott M. Seidel, Trustee (the “Trustee”), the trustee of

Goodman Networks, Inc., on the one hand, and the Plaintiff, on the other hand, is pending as

Case No. 23-03091-mvl (the “Adversary Proceeding”) before the United States Bankruptcy

Court for the Northern District of Texas, Dallas Division (the “Bankruptcy Court”).

       In the Adversary Proceeding, the Trustee is seeking a preliminary injunction through the

Trustee’s Motion for Preliminary Injunction (the “PI Motion”).

       The Subject Defendants respectfully request an extension of the deadline for them to file

an answer, motion, or other document in response to the Complaint to a date forty-five (45) days

after the Bankruptcy Court enters a final order adjudicating the PI Motion.

       WHEREFORE, PREMISES CONSIDERED, the Subject Defendants request that this

Court enter an order extending the deadline for them to file an answer, motion, or other

document in response to the Complaint to a date forty-five (45) days after the Bankruptcy Court

enters a final order adjudicating the PI Motion.

                          [Remainder of page left intentionally blank]




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                                              Respectfully submitted,

                                              QUILLING, SELANDER, LOWNDS,
                                                 WINSLETT & MOSER, P.C.
                                              2001 Bryan Street, Suite 1800
                                              Dallas, Texas 75201
                                              (214) 871-2100 (Telephone)
                                              (214) 871-2111 (Facsimile)

                                              By: /s/ Joshua L. Shepherd
                                                      Michael J. Quilling
                                                      Texas Bar No. 16432300
                                                      Joshua L. Shepherd
                                                      Texas Bar No. 24058104

                                              ATTORNEYS FOR THE TRUSTEE ON BEHALF
                                              OF THE SUBJECT DEFENDANTS


                             CERTIFICATE OF CONFERENCE

       This is to certify that prior to filing this Motion, I conferred with Daniel W. Van Horn,
counsel for the Plaintiff, who stated that the Plaintiff does not oppose the relief requested in this
Motion. Therefore, this Motion is unopposed.

                                              /s/ Joshua L. Shepherd
                                              Joshua L. Shepherd


                                 CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing document was served
concurrently with the filing of the same via the Court’s CM/ECF noticing system upon all
persons who have filed ECF appearances in this case, including counsel of record for the
Plaintiff.

                                               /s/ Joshua L. Shepherd
                                              Joshua L. Shepherd




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